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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                        :
                                                :
               Respondent,                      :
                                                :
       v.                                       :         Criminal No. 09-ELH-0098
                                                :          Civil No. 17-cv-1836
TRENELL MURPHY,                                 :
                                                :
               Petitioner.                      :
                                            ...oOo...

                  MOTION FOR EXTENSION OF TIME TO RESPOND
                     TO PETITIONER’S MOTION TO VACATE

       COMES NOW the United States of America, by and through undersigned counsel, and

hereby seeks a 60-day extension of time to respond to the Petitioner’s motion to vacate, and in

support whereof states as follows:

       1.      On June 30, 2017, the Petitioner filed a pro se motion to vacate his sentence

pursuant to 28 U.S.C. § 2255. 1 ECF 71. On July 6, 2017, the Court ordered the Government to

respond within sixty-days. ECF 72.

       2.      On, or about this time, the Petitioner was represented by Michael DeMartin, Esq.,

in a separate criminal matter. Counsel consented to the Government’s first request for a sixty-

day extension to respond; the Court granted the request.        ECF 74 and 75, respectively.

Accordingly, the Government’s response was due November 6, 2017.

       3.      On October 31, 2017, C. Justin Brown, Esq. entered his appearance on behalf of



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  This is the Petitioner’s second §2255 motion. The first Motion to Vacate Under §2255 was filed
on July 1, 2011. ECF 39. This Court denied the motion and denied a certificate of appealability
on April 1, 2014. ECF 70. There is no record that the court of appeals has authorized the filing
of a second or successive §22255 motion. See In re Vial, 115 F.3d 1192, 194 (4th Cir. 1997).
However, the Government is not seeking a ruling on this procedural issue at this time.
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the Petitioner in all matters. ECF 79.

       4.      The parties have engaged, and continue to engage in discussions regarding the

posture of this case.   The parties continue to discuss a resolution in this matter. Therefore, the

Government is once again seeking a 60-day extension to respond to the Petitioner’s motion.

       5.      Counsel for the Petitioner does not object.

       A proposed order is attached.

                                              Respectfully submitted,

                                              Robert K. Hur
                                              United States Attorney


                                         By:____/s/_______________________
                                              Patricia McLane
                                              Assistant United States Attorney
                                              36 South Charles Street
                                              Fourth Floor
                                              Baltimore, Maryland 21201
                                              (410) 209-4800

Filed ECF: October 12, 2018




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
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UNITED STATES OF AMERICA                         :
                                                 :
               Respondent,                       :
                                                 :
       v.                                        :          Criminal No. 09-ELH-0098
                                                 :           Civil No. 17-cv-1836
TRENELL MURPHY,                                  :
                                                 :
               Petitioner.                       :
                                             ...oOo...

                                            ORDER

       Having read and considered the Government’s motion for extension of time, and any

opposition thereto, and for good cause shown, IT IS HEREBY ORDERED that:

       (1)     The motion be and hereby is GRANTED;

       (2)     The United States shall have until December 1, 2018, in order to file its response

to the Petitioner’s Motion to Vacate; and

       (3)     The Clerk’s Office shall transmit a copy of this Order to Petitioner and counsel

for the United States.

       IT IS SO ORDERED this _________ day of June, 2018



                                                     ___________________________________
                                                     The Honorable Ellen L. Hollander
                                                     United States District Judge
